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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JARROD JOHNSON individually,            )
and of Behalf of a Class of persons     )
similarly Situated,                     )
                                        )
        Plaintiff,                      )
                                        )      Civil Action No. 4:20-cv-00008-AT
v.                                      )
                                        )
3M COMPANY, et al.,                     )
                                        )
        Defendants.                     )

                CONSENT MOTION TO DISMISS DEFENDANT
              DORSETT INDUSTRIES, INC. WITHOUT PREJUDICE

        NOW COMES Defendant Dorsett Industries, Inc. (“Dorsett”) and, based

upon the representations made by Dorsett in its attached Declaration, seeks its

dismissal without prejudice in the above-referenced action. The Declaration of

Bryan Macon, filed on behalf of Dorsett, is attached hereto as Exhibit A.

        Plaintiff has consented to dismissal based on good faith representations

supported by the Declaration submitted with this Motion. It is stipulated and

consented that if additional evidence becomes available showing that Dorsett

should not have been dismissed, then Plaintiff may re-file his case against Dorsett

and/or join Dorsett in this action. In such event, Dorsett shall retain all rights and

defenses in this case except: (a) Dorsett will not contest venue to the extent venue

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has been determined by the Court; (b) Dorsett agrees to a tolling of the statute of

limitations from the time of this Dismissal until the action is re-filed or Dorsett is

joined in this action; and (c) Dorsett will not seek costs or a stay pursuant to Fed.

R. Civ. P. 41(d).

      The Plaintiff and Dorsett have agreed that each party will bear its own

attorneys’ fees, expenses, and costs.

      For the Court’s convenience, a Proposed Order is attached hereto as

Exhibit B.

      This 22nd day of April, 2020.

                                  BONDURANT, MIXSON & ELMORE, LLP

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                                  Attorneys for Defendant Dorsett Industries, Inc.

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CONSENTED TO BY:          THE STONE LAW GROUP – TRIAL LAWYERS, LLC

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                          Attorneys for Plaintiff




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day caused a copy of the within and

foregoing CONSENT MOTION TO DISMISS DEFENDANT DORSETT

INDUSTRIES, INC. WITHOUT PREJUDICE to be served by electronically

filing the same with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to counsel of record.

      This 22nd day of April, 2020.



                                              /s/ Michael R. Baumrind
                                              Michael R. Baumrind




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